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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF NEW YORK

United States v. Ari B. Teman (1:19-cr-00696)

REBUTTAL TO JUSTIN GELFAND’S AFFIDAVIT (DKT. 553)

   ●​ Introduction​
      ​
      Justin Gelfand’s affidavit, submitted after the court’s deadline and arriving after my rebuttal to
      DiRuzzo’s affidavit, repeats false claims already addressed in my rebuttal to Joseph A. DiRuzzo’s
      affidavit. These claims are easily disproven by evidence in the record and publicly available
      information. ​
      ​
      I respectfully reiterate my motion to dismiss this case by May 31, 2025, to allow me to rebuild my
      life in Israel and avoid violating due to the impossible order to take a non-existent boat. ​
      ​
      I also note for the Court that I cannot under Jewish law take a boat from Israel on the Sabbath or
      Holiday of Shavuot which is June 1, where the majority of passengers and a significant number of
      crew would be Jewish (as any boat first leaving from Israel would have), and that this is forbidden
      by both Sephardic and Ashkenaz custom. I could not charter a boat from Israel, because the staff
      would be Jewish and would be required to operate the boat over the Sabbath and Holidays for me.
      The boat order is impossible both because no such boat exists and even if one did it or could be
      acquired/funded it would violate Jewish law to take it over the required period for a boat to travel to
      the USA. ​
      ​
      Because of the ongoing impeachment efforts and the attack on the Chief Rabbi of Israel by Judge
      Englemayer who called the Rabbi’s ruling “bogus” and now continues to order me to violate Jewish
      law, I motion for recusal.​

   ●​ Response to Gelfand’s Claims​

          ●​ Misrepresentation of which subpage of GateGuard’s Terms is relevant​
             Gelfand misleads by referencing and attaching the “Payment Terms” subpage, once again
             ignoring that it is the “Dispute Terms” page, which authorized drafts by any means and that
             it is the main terms page which clearly outlined fees (And were submitted into evidence by
             Gabay and Soon-Osberger). The Dispute Terms remained identical and unchanged from
             2016 to 2020.​

          ●​ False Claim that GateGuard Did Not Exist in 2016​
             Gelfand’s assertion that GateGuard did not exist in 2016 is incorrect. EXHIBIT A, an email
             referenced in my DiRuzzo rebuttal, confirms GateGuard service was marketed and
             operated by SubletSpy (Touchless Labs LLC) in 2016. ​
             ​
             An October 27, 2016, The Real Deal article further verifies GateGuard’s launch, noting
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            dozens of devices sold and its operation under SubletSpy. Basic due diligence, such as
            reviewing emails or bank records, would have confirmed GateGuard was developed,
            funded, and operated by SubletSpy. The fact that Gelfand makes the ludicrous claim that
            GateGuard did not exist in 2016 proves either he did not even other to Google his client
            before trial or is willfully lying now.​

         ●​ No Attorney Witnesses Needed to be Called to Verify the Dispute Terms​
            No attorney witnesses, including GKH or Reinitz, were needed to verify the Dispute Terms’
            validity in 2016. GKH emails in evidence contain header data proving the terms were in
            effect and unchanged since 2016. ​
            ​
            Gelfand’s claim that GKH was required for a “reliance of counsel” defense is baseless, as
            the contract permitted RCC charges without further legal consultation. Companies routinely
            enforce online terms without reconsulting counsel.​
            ​
            Additionally, Reinitz’s emails to clients, including Soleimani and Gabay, confirming they
            were bound by the terms, were already in evidence -- submitted by the Government’s
            witnesses and available to the defense -- supporting my reasonable belief in their
            enforceability.​

         ●​ False Allegations of “Uncharged Tax Crimes”​
            ​
            Gelfand falsely alleges tax-related misconduct during years when my accountant and
            bookkeeper confirmed I did not exceed the filing threshold, as I incurred significant financial
            losses due to severe health issues, including multiple hospitalizations, an 11-hour surgery,
            and extended bedridden periods following medical malpractice. The doctor’s practice was
            shut down by the New York Attorney General after complaints from over 20 patients, and
            my lawsuits against the doctor, his practice, and a partner hospital were reported in a major
            New York newspaper (
            https://nypost.com/2014/11/11/embattled-manhattan-doc-faces-accusation-of-quackery/ )
            and a website dedicated to covering medical fraud (
            https://quackwatch.org/11ind/braverman/ ). ​
            ​
            Trial Counsel were aware of my health challenges, raised in a pre-trial hearing where Judge
            Engelmayer misinterpreted my physical pain as disrespect, prompting a personal tirade
            against me. Their attempt to exploit my health struggles and cast false accusations of tax
            avoidance to deflect from their inadequate representation is unethical.​




Conclusion and Request for Relief​
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      Gelfand & DiRuzzo’s failure to obtain basic evidence, missing news articles that could be found
      even by Google (EXHIBIT B), highlights their deficient representation. Their false accusations of
      tax avoidance when they knew I was hospitalized and unable to function shows that they are
      in-fact extremely “sleezy”.

      I respectfully reiterate my motion to dismiss this case by May 31, 2025, to end this ordeal and allow
      me to rebuild my life without being required to fly back from Israel against an ENT’s explicit order or
      to take a non-existing boat.​
      ​
      ​
      As many experts and more than two dozen Rabbis have noted publicly (Dkt 326-1), This
      prosecution appears driven by personal animus of Judge Engelmayer, stemming from a suicide
      note I wrote, forwarded to Judge Engelmayer, in which I referred to him as a “corrupt Obama
      judge.” That view is now publicly shared and expressed by the President, Vice President, Attorney
      General, and multiple Congressmen.​
      ​
      The case has been marked by mischaracterizations and fabrications by Judge Engelmayer himself
      and a failure to acknowledge that I enforced a contract provided by a major international law firm
      (GKH), which another law firm (Reinitz) confirmed in emails to clients (copying me) was binding on
      clients. ​
      ​
      Despite this evidence, the Court continues to order me to risk my health, violate my religious
      beliefs, and spend money I do not have to take a boat that does not exist from Israel to the USA
      during an ongoing war. It is a manufactured, unethical, rigged attempt to violate me and generate
      an arrest by a judge is clearly enraged that his corruption has been called out by Congress and he
      now faces impeachment. For this reason, I motion for immediate recusal and for an independent
      judge to rule on the 2255 and any other issues.

      While I have little expectation that Judge Engelmayer will set aside his apparent bias, I submit this
      for the record, hoping someone in the system will act justly and halt the abuse of me and my family
      for enforcing a lawful contract provided to my startup by a major law firm (GKH) recommended to
      me and supervised by another major law firm (Lowenstein Sandler) and our corporate counsel
      (Reinitz) warned clients for months in emails they were bound by the terms and owed the fees we
      drafted.​
      ​
      /s/ Ari Teman​
      May 29, 2025​
      2nd of Sivan, 5785​



EXHIBIT A: Email confirming GateGuard was a service of SubletSpy, not a separate entity.​
EXHIBIT B: The Real Deal article proving GateGuard existed in 2016 and was marketed and operated by
SubletSpy
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EXHIBIT A: GateGuard was a service of SubetSpy, not a separate entity​
